
PER CURIAM
*101Phillip Emily appeals from the judgment upon his conviction by a jury for one count of receiving stolen property, in violation of Section 570.080, RSMo 2000,1 for which he was sentenced as a persistent offender to fifteen-years' imprisonment. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal and find the claims of error to be without merit. No error of law appears. An extended opinion reciting the detailed facts and restating the principles of law applicable to this case would serve no jurisprudential purpose. We have, however, provided a memorandum opinion for the use of the parties setting forth the reasons for our decision. We affirm the judgment pursuant to Rule 30.25(b).

Unless otherwise indicated, all further statutory references are to RSMo 2000 as amended.

